     Case 2:15-cv-03657-SJO-VBK Document 39 Filed 03/16/16 Page 1 of 3 Page ID #:454



                                                               JS-6
 1
 2
 3
                                                             March 16, 2016
 4
                                                                  VPC
 5
 6
 7
 8
 9                             UNITED STATES DISTRICT COURT

10                            CENTRAL DISTRICT OF CALIFORNIA
11
12    JORGE ALVAREZ, as an individual, and          CASE No. 2:15-cv-03657-SJO-
                                                    VBK
13    on behalf of all others similarly situated,
                                                     XXXXXXXXXXXX ORDER AND
                                                    [PROPOSED]
14
                                Plaintiff,          FINAL JUDGMENT GRANTING
                                                    FINAL APPROVAL OF FLSA
15
            vs.                                     SETTLEMENT
      9021PHO FASHION SQUARE LLC, a
16    California Limited Liability Company;         Judge:   Hon. Judge S. James Otero
                                                    Date:    March 21, 2016
17    9021PHO RESTAURANTS LLC, a                    Time:    10:00 a.m.
      California Limited Liability Company;         Dept.:   1
18
      9021PHO BEVERLY HILLS LLC a
19    California Limited Liability Company;
20
      9021PHO GLENDALE GALLERIA LLC,
      a California Limited Liability Company;
21    9021PHO KTOWN LLC, a California
22    Limited Liability Company; 9021PHO
      SUNSET LLC, a California Limited
23    Liability Company; 9021PHO
24    THOUSAND OAKS LLC, a California
      Limited Liability Company; 9021PHO
25
      WESTWOOD LLC, a California Limited
26    Liability Company; and DOES 1 through
27    10,
28                              Defendants.
                                                1
         xxxxxxxxxxxxxxxx
          [PROPOSED]        ORDER AND FINAL JUDGMENT GRANTING FINAL SETTLEMENT
                                            APPROVAL
     Case 2:15-cv-03657-SJO-VBK Document 39 Filed 03/16/16 Page 2 of 3 Page ID #:455




 1            This matter came on for hearing on March 21, 2016, at 10:00 a.m., in
 2    Department 1 of the United States District Court for the Central District of
 3    California before the Honorable S. James Otero. Having considered all papers
 4    filed and proceedings held herein, having reviewed the proposed Settlement and
 5    the record in the above captioned matter, and good cause appearing thereto, IT IS
 6    HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:
 7            1.    The terms “Settlement” or “Settlement Agreement” shall refer to the
 8    revised Settlement Agreement filed by Plaintiffs Jorge Alvarez and Javier Clara on
 9    February 9, 2016, and all terms herein shall have the same meaning as the terms
10    defined in the Settlement Agreement, unless specifically provided herein.
11
              2.    The Court grants final approval of the Parties’ Settlement Agreement
12
      because it meets the criteria for settlement approval under the Fair Labor Standards
13
      Act (“FLSA”), pursuant to 29 U.S.C. § 216(b). The Settlement is a fair and
14
      reasonable resolution of a bona fide dispute over FLSA provisions.
15
              3.    The Court finds that the Settlement was achieved in an adversarial
16
      context, that Plaintiffs were represented by attorneys experienced in wage and hour
17
      litigation and capable of protecting Plaintiffs’ rights, that the Settlement reflects a
18
      reasonable compromise over issues actually in dispute, and that the terms of the
19
20
      Settlement are fair and reasonable.

21            4.    The Court finds that attorneys’ fees in the amount of $38,500 and
22    actual litigation costs of $5,884.07 are reasonable and justified by the evidence
23    submitted, and orders that those amounts be paid to Plaintiffs’ counsel in
24    accordance with the terms of the Settlement Agreement.
25    ///
26    ///
27    ///
28
                                             2
            xxxxxxxxxxxxxxxx
            [PROPOSED] ORDER   AND FINAL JUDGMENT GRANTING FINAL SETTLEMENT
                                         APPROVAL
     Case 2:15-cv-03657-SJO-VBK Document 39 Filed 03/16/16 Page 3 of 3 Page ID #:456




 1          5.      This document shall constitute a judgment for purposes of Rule 58 of
 2    the Federal Rules of Civil Procedure. The Action is hereby dismissed on the
 3    merits and with prejudice.
 4    IT IS SO ORDERED.
 5
              March 16
 6    Dated: ________________, 2016          _____________________________
 7                                           The Honorable S. James Otero
                                             United States District Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               3
         xxxxxxxxxxxxxxx
         [PROPOSED]        ORDER AND FINAL JUDGMENT GRANTING FINAL SETTLEMENT
                                           APPROVAL
